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SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS ——

This Settlement Agreement and Release of Claims (the "Agreement") is made by Hal
Collums Construction, LLC, Central City Millworks, LLC, and Hal Collums ("Defendants") and
their subsidiaries, affliates, officers, employees, agents, directors, representatives, successors,
assigns, and shareholders and Rene Osmin Lopez, Jose Moran, Rene Orlando Lopez, Wilson
Nunez, and Scott Robin ("Plaintiffs"), Plaintifis.in the case captioned Rene Lopez and Jose
Moran v. Hal Collums Construction, LLC, et al. Case Number 15-CV-4113, currently pending in
the United States District Court'for the Eastern District of Louisiana (the "Lawsuit").

This Agreement | is | made as a compromise between Plaintiffs and Defendants
(collectively, the “Parties”) for the complete and final settlement of all claims that are the
subject of the Lawsuit. In consideration for the setilement payments made to them herein
by Defendants, Plaintiffs, Rene Osmin Lepez, Jose Moran, Rene Orlando Lopez, Wilson
' Nanez.and Scott Robin, release, discharge, acquit, hold harmless and indemnify
Defendants, Hal Collums Construction, LLC, Central City Millworks, LLC, and Hai
Coliums, in regard to any and all claims that Plaintiffs brought or could have brought in
the Lawsuit, including but not limited to any claim or claims that Plaintiffs have or may
have had against Defendants for wages, overtime pay, back pay, liquidated damages,

penalty wages, attorneys’ fees, costs, and any and all relief that is available under the Fair

Labor Standards Act.
AGREEMENT
A. Consideration for Rene Osmin Lopez: In consideration for the release,

discharge, hold harmless and indemnity of Defendants provided for herein by Plaintiff,

Rene Osmin Lopez, Defendants agree to pay Rene Osmin Lopez the ‘total gross amount of

 

EXHIBIT

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$17,941.00 U.S. Dollars (“the Gross Settlement Amount”) from which applicable deductions
shall be made.

LL The Wage Portion: 50% of the Gross Settlement Amount (‘the Wage
Portion”) paid to Plaintiff Rene Osmin Lopez under the Setilement Agreement shall’be reported
as wages to the appropriate taxing authorities on a W-2 form issued to Rene Osmin Lopez, and
this 50% shall be subject to adjustments and deductions for applicable taxes and withholdings as
required by federal, state, and local law. Within three (3) days of the approval of this
Settlement Agreement by the Court, Rene Osmin Lopez will provide Defendants with an
executed W-4. On the tax withholdings portion of the W-4, Rene Osmin Lopez will declared
himself that his married with one dependent. Rene Osmin Lopez agrees to these designations.
Based upon these designations, Defendants will make the applicable withholdings for federal
Income taxes, FICA taxes, and state taxes. Although not a condition of this settlement
agreement, Rene Osmin Lopez agrees ‘to accept responsibility tor any and ail taxes that he
may owe as a result of this settlement and for having an. Individual Taxpayer. Tdentification,
Number (NN).

«a, Phe Liguidated Damages Portion: 50% of the Gross Settlement
Amount (“the Liquidated Damages Portion”) paid to Rene Osmin Lopez under this Settlement —
Agreement shall be allocated as liquidated damages, interest, and/or penalties, and reported as
non-wage income to the appropriate taxing authorities on a Form 1099. .

B. Consideration for Jose Danilo Lopez Moran, Rene Orlando Lopez, Wilson
Nunez and Scott Robin: Ii consideration for the release, discharge, hold harmless and
indemnity of Defendants by Plaintiffs’, Jose Danilo Lopez Moran, Rene Orlando Lopez,

Wilson Nunez and Scott Robin, Defendants agree to pay Plaintiffs, Jose Danilo Lop ez Moran,

 

 
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Rene Orlando Lopez, Wilson: Nunez-and Scott Robin the following. amounts, from which no

withholdings or deductions are applicable:

Jose Danilo Lopez Moran: $ 3,027
Rene Orlando Lopez: $ 2,694
Wilson Nunez: | $ 2,133
Scott Robin: | $ 1,260

1. 50% of the gross settlement amount paid to Plaintiffs, Jose Danilo Lopez —
Moran, Rene Orlando Lopez, Wilson Nunez, and Scott Robin will be
designated as wages to the appropriate taxing authorities on a W-2 Form.
Since the wage portion of these settlement amounts are under $1,600, no
withholdings shall be made for federal or state income ‘tax; however,
Defendants will withhold the applicable amounts for FICA (Social Security)

taxes.

50% of the gross settlement amount shall be designated as liquidated
damages, interest and/or penalties. and reported as monwage income to the
appropriate taxing authorities on a Form 1099. Plaintiffs Jose Danilo Lopez
Moran, Rene Osmin Loper, Wilson Nunez, and Scott Robin, agree to be
responsible for any and all taxes that they owe pursuant to this settlement
agreement. Although not a condition of this settlement agreement, Plaintiffs,
Jose Danilo Lopez Moran, Rene Osmin Lopez, and Wilson Nunez, agree to
accept responsibility for filing a W-7 form with the Internal Revenue Service.
Cc. Attorneys’ Fees: Defendants additionally agree to pay Plaintiffs’ attorneys,

William H. Beaumont, Roberto L. Costales, and Emily Westermeier, the sum of $31,450.00 for

 
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attorneys’ fees and costs for which Defendants will issue a 1099: to William H. Beaumont for ©
this payment, who will provide an executed W-9 for the payment. In consideration for this
payment of attorneys’ fees by Defendants, William H. Beaumont, Roberto L.-Costales, and
Emily Westermeier, agree to release, discharge, hold harmless and indemnify Defendants
in regard to any claim(s) they or the Plaintiffs have or may have for attorneys’ fees and
costs arising out of or related to the Lawsuit.

D. Settlement Allocation: Checks to Plaintiffs for the Settlement Amount and
Attomey’s F ees will be delivered to Plaintiffs' Counsel's offices within 21 days of the Court's
order granting the Joint Motion to Dismiss and for Approval of Settlement of Plaintiffs’ claims.
‘Upon receipt, Plaintiffs’ counsel will deliver checks to Plaintiffs as soon as practicable.

‘E. Court Approval: The Parties will submit to the Court a joint motion ‘for ‘final
approval of this Agreement. The Parties will cooperate and take allnecessary steps to effectuate
final judicial approval of this Agreement. Payment of the settlement consideration described —
herein is contingent upon Court Approval of this Agreement.

E. Release of Wage.and Hour and Other Claims: Plaintiffs hereby agree to release
and forever discharge Defendants from all claims of any kind, whatsoever, now existing, that in
any way relate to, were asserted by, or could have been asserted by, Plaintiffs in the Lawsuit,
including, but not limited to claims for alleged violation of the F air Labor Standards Act, claims
regarding hours worked, the payment, or nonpayment of wages, overtime compensation,
minimum wage compensation, meal and rest periods, penalties, and liquidated damages.

E. Liability: Plaintiffs understand and agree that this Agreement is a compromise of
doubtful and disputed claims and any payment is not to be construed as an admission of liability

by Defendants and that Defendants expressly deny any liability for Plaintiffs’ disputed claims.

 
 

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KF. Confidentiality: The Parties warrant and represent that they and their counsel
will not in the future disclose the terms of this Agreement, including’ but not limited to the
Settlement Payment agreed to, except as set forth below and as required by law. This
confidentiality provision shall not preclude disclosure by the Parties in response to a lawfully
issued subpoena or legal process; to the Parties’ spouses; or parents; or to the Parties’ attorneys
and tax or financial advisors, and then only if such persons are expressly made aware of this
confidentiality provision and agree to be bound hereby. In the event that a lawfully issued
subpoena requests of a court of competent jurisdiction or Government Agency orders that the’
Parties disclose the contents of this Agreement or turn over a copy of this Agreement to a third
party, the Parties agree to give advance written notice of:no less than ten (10) business days, if
. feasible, of any such proposed disclosure of information to the attention of all counsel of record
in the Lawsuit to give an opportunity to object to such disclosure. This confidentiality provision
is a material part of the consideration flowing to the Parties and is an integral part of this.
Agreement. Inquiries to the Parties, their spouses, their family and their counsel by any
individual or entity that do not fall within the narrow exceptions above shall be answered by
responding: “The matter is has been resolved and is confidential. I am not at liberty to discuss
the situation any further.” The Parties may disclose the contents of this Agreement in an action to
enforce this Agreement.

G. Dismissal: The Parties agree to file a Joint Motion to Dismiss and for Approval of
Settlement within three business days of the Parties’ execution of this Agreement. The Joint
Motion will seek dismissal of the Lawsuit with prejudice.

HE. Severabilty of Provisions: The provisions of this Agreement shall not.be deemed

severable. If this Agreement is not approved by the Court in whole, the Parties agree they will

 
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attempt, in good faith, to revise this Agreement and resubmit this Agreement for approval by the
Court. |

I. Knowing and Voluntary Waiver: The Parties acknowledge and agree they had
sufficient time to consider this Agreement and consult with legal counsel of their choosing
concerning its meaning. When enteting into this Agreement, the Parties have not relied on any
representations or warranties made by the Parties, other than representations and warranties
expressly set forth in this Agreement.

J. ‘Continuing Jurisdiction: Nothing in this Agreement is intended to limit the
Court's authority to retain continuing and exclusive jurisdiction over the Parties to this
Agreement for the purpose of the administration and enforcement of this Agreement.

K Dispute Resolution: The Parties intend for any disputes regarding this
Agreement to be heard only by the Court. |

L. | Choice of Law: The enforcement of this Agreement shall be governed and
interpreted by, and under, the laws of the State of Louisiana whether any party is, or may
hereafter be, a resident of another state. |

M. Extension of Time: The Parties may, subject to Court approval, agree upon a
reasonable extension of time for deadlines and dates reflected in this Agreement, without further
notice.

N. Amendments/Modifications: No waiver, modification, or amendment of the
terms of this Agreement, whether purportedly made before or after the Coutts approval of this
Agreement, shall be valid or binding unless in writing, signed by or on behalf of all of the
Parties, and then only to the extent set forth in such written waiver, modification or amendment,

subject to any required Court approval.

 
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O. . Binding Agreement: This Agreement shall be binding upon, and inure to the
benefit of, the Parties and their affiliates, beneficiaries, heirs, executors, administrators,
successors, and assigns.

P. No Third-Party Beneficiaries: This Agreement shall not be construed to create
rights in, grant remedies to, or delegate any duty, obligation or undertaking established herein to,
any third party as a beneficiary of this Agreement.

Q. Cooperation Clause: The Parties acknowledge it is their intent to consummate
this Agreement, and they agree to cooperate and exercise their best efforts to the extent necessary
to effectuate and implement all of the terms and conditions of this Agreement.

'R. Entire Agreement: This Agreement constitutes the entire agreement of the
Parties concerning the subjects included herein. This Agreement may not be changed or altered,
except in writing, signed by all Parties and approved by the Court.

S. Captions: The captions or headings of the sections and paragraphs of Agreement
have been inserted for convenience only, and shall have no effect on the construction or
interpretation of any part of this Agreement. ‘

T. When Agreement Becomes Effective; Counterparts: This Agreement shall
become effective upon approval by the Court and execution by the Parties. The Parties may
execute this Agreement in counterparts, and execution in counterparts shall have the same force
and effect as if the

U. Facsimile Signatures: Execution by facsimile shall be deemed effective original.

V. Corporate Signatories: Each person executing this Agreement, including

execution on behalf of Defendants, warrants and represents that such person has the authority to

do so.

 
 

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FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF ALL CLAIMS HAS BEEN
READ AND FULLY UNDERSTOOD BEFORE ME SIGNING OF THIS AGREEMENT.

Aare min Lopes

Rene Osmin Lopez

Dated: 12/24 [16

 
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FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF ALL CLAIMS HAS BEEN
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Jose Moran

 
 

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Rene Orlando Lopez

Dated: 2/24/"

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' Wilson Nunez

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Wiliam H. Beaumont

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Emily Westermeier

Dated: Iz /20 we

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